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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ANATOLIE STATI
  20 Dragonmirna Street
  Chisinau, Republic of Moldova

and

GABRIEL STATI
  1A Ghioceilor Street
  Chisinau, Republic of Moldova

and

ASCOM GROUP, S.A.
  75 A. Mateevici Street
  Chisinau, MD-2009, Republic of Moldova

and

TERRA RAF TRANS TRAIDING LTD.
  Don House, Suite 31
  30-38 Main Street, Gibraltar

                              Petitioners,

                       v.                                                   14-cv-1638
                                                          Civil Action No. ___________


REPUBLIC OF KAZAKHSTAN
  Ministry of Oil and Gas of the
  Republic of Kazakhstan
  22 Kabanbay Batyr Ave.
  Block “A”, Room 517
  010000, Astana
  Republic of Kazakhstan

                              Respondent.


                      PETITION TO CONFIRM ARBITRAL AWARD

       Petitioners Anatolie Stati, Gabriel Stati, Ascom Group, S.A., and Terra Raf Trans

Traiding Ltd., by and through their undersigned counsel, hereby petition this Court for an order
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pursuant to 9 U.S.C. § 207 (i) confirming and recognizing the final arbitral award (the “Award”)

rendered on December 19, 2013 in an arbitration between Petitioners and Respondent the

Republic of Kazakhstan (the “ROK”) pursuant to the Rules of Arbitration of the Arbitration

Institute of the Stockholm Chamber of Commerce (“SCC Rules”), 1 (ii) entering judgment in

Petitioners’ favor against the ROK in the amount of the Award with pre- and post-judgment

interest and costs as provided therein and as authorized by law, plus the costs of this proceeding;

and (iii) awarding Petitioners such other and further relief as this Court deems just and proper.

                                      Parties, Jurisdiction and Venue

                   1.      Petitioners bring this summary proceeding under the United Nations

Convention for the Recognition and Enforcement of Foreign Arbitral Awards (June 10, 1958),

21 U.S.T. 2517, 330 U.N.T.S. 38 (the “New York Convention”) and Chapter 2 of the Federal

Arbitration Act (“FAA”), 9 U.S.C. §§ 201 et seq., to confirm a duly-rendered arbitration award

issued in their favor against the ROK.

                   2.      Petitioner Anatolie Stati is a natural citizen of Moldova and Romania, and

resides at 20 Dragonmirna Street, Chisinau, Republic of Moldova.

                   3.      Petitioner Gabriel Stati is a natural citizen of Moldova and Romania, and

is the son of Anatolie Stati. He resides at 1A Ghioceilor Street, Chisinau, Republic of Moldova.

                   4.      Petitioner Ascom Group S.A. (“Ascom”) is a joint stock company

incorporated under the laws of Moldova, with headquarters in Moldova, and located at 75 A.

Mateevici Street, Chisinau, MD-2009, Republic of Moldova. Anatolie Stati owns 100% of

Ascom.

                   5.      Petitioner Terra Raf Trans Traiding Ltd. (“Terra Raf”) is a limited liability

1   The Award is captioned as SCC Arbitration V (116/2010).



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company incorporated under the laws of Gibraltar, and is located at Don House, Suite 31, 30-38

Main Street, Gibraltar. Anatolie Stati and Gabrial Stati each own 50% of Terra Raf.

               6.     Respondent is the Republic of Kazakhstan and is a foreign state within the

meaning of the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1330, 1332, 1391(f),

1441(d), 1602-1611.

               7.     This Court has subject matter jurisdiction over this proceeding pursuant to

28 U.S.C. § 1330(a), as the ROK is not entitled to sovereign immunity in connection with the

cause of action set forth herein. Specifically, the ROK is not immune by virtue of 28 U.S.C. §

1605(a)(6), which provides that a foreign state does not enjoy sovereign immunity in any case

brought to confirm arbitration awards that “are or may be governed by a treaty or other

international agreement in force in the United States calling for the recognition and enforcement

of arbitral awards. Subject matter jurisdiction is also conferred pursuant to 9 U.S.C. § 203.

               8.     Personal jurisdiction over the ROK is expressly conferred by 28 U.S.C.

§ 1330(b), which provides that this Court may exercise personal jurisdiction over a foreign state

in any action with respect to which the foreign state is not entitled to sovereign immunity under

28 U.S.C. §§ 1605-1607, and over which the Court has subject matter jurisdiction.

               9.     Venue is proper in this district pursuant to 9 U.S.C. § 204 and 28 U.S.C. §

1391(f)(4).

                                  The Arbitration Agreement

   A. The ROK’s Consent to Arbitrate

               10.    The ROK consented to arbitrate its disputes with Claimants pursuant to




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the Energy Charter Treaty (“ECT”). 2 The arbitration agreement between the Claimants and the

ROK consists of two elements: (i) the ROK’s consent contained in Article 26(3) of the ECT; and

(ii) the Claimants’ consent contained in their Request for Arbitration.

                11.      The ROK signed the ECT on December 17, 1994 and ratified it on

October 18, 1995. The ECT entered into force in the Republic of Kazakhstan on April 16, 1998.

In accordance with Article 1(2) of the ECT, the ROK is a Contracting Party to the ECT. 3

                12.      Article 26 of the ECT entitled “Settlement of Disputes between an

Investor and a Contracting Party,” provides as follows in sub-paragraph (3)(a):

                (3) (a) Subject only to subparagraphs (b) and (c), each Contracting
                Party hereby gives its unconditional consent to the submission of a
                dispute to international arbitration or conciliation in accordance
                with the provisions of this Article.


                13.      Accordingly, the ROK provided its written consent to the arbitration in

ECT Article 26(3), as it is a Contracting Party to the ECT.

    B. The Claimants’ Consent to Arbitrate

                14.      Moldova signed the ECT on December 17, 1994 and ratified it on June 10,

1996. The ECT entered into force in Moldova on April 16, 1998. In accordance with Article

1(2) of the ECT, Moldova is a Contracting Party to the ECT.

                15.      As “natural person[s] having the citizenship” of Moldova, Petitioners

Anatolie Stati and Gabriel Stati are “Investors” within the meaning of Article 1(7)(a)(i) of the




2  A true and correct copy of the ECT is attached as Exhibit B to the Declaration of Charlene C. Sun, dated
September 30, 2014 (“Sun Decl.”).
3 Article 1(2) of the ECT provides that a “Contracting Party” means “a state or Regional Economic Integration
Organization which has consented to be bound by this Treaty and for which the Treaty is in force.”



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ECT. 4

                  16.      As “a company or other organization organized in accordance with the law

applicable in” Moldova, Petitioner Ascom is likewise an “Investor” within the meaning of

Article 1(7)(a)(ii) of the ECT.

                  17.      As determined by the Tribunal, Petitioner Terra Raf is also an “Investor”

under the ECT, as it is a company organized in accordance with the law of Gibraltar, which is a

part of the European Community, which is itself party to the ECT. Award, Sun Decl. Ex. A, ¶

746.

                  18.      As “Investors” under Article 1(7) of the ECT, Petitioners’ investment-

based claims against the ROK were properly submitted to arbitration in accordance with the

ECT, and the Tribunal properly found that it had jurisdiction over Petitioners’ claims.

                  19.      Articles 26(2)(c) and 26(4)(c) of the ECT provide that an Investor may

elect to submit a dispute for resolution through arbitration under the Arbitration Institute of the

Stockholm Chamber of Commerce. The Investor is required to provide its consent in writing. 5

                  20.      The Claimants provided their written consent to the Arbitration in ¶ 94 of

their Request for Arbitration dated July 26, 2010 in the following terms:

                  Claimants hereby consent to arbitration under the ECT and elect to
                  submit this dispute to the Arbitration Institute of the Stockholm
                  Chamber of Commerce in accordance with Article 26(4)(c) of the




4 Article 1(7) of the ECT provides, in pertinent part, that an “Investor” means “with respect to a Contracting Party,”
“(i) a natural person having the citizenship or nationality of or who is permanently residing in that Contracting Party
in accordance with its applicable law,” or “(ii) a company or other organization organized in accordance with the
law applicable in that Contracting Party.”
5 See ECT, Article 26(4)(c) (“In the event that an Investor chooses to submit the dispute for resolution under
subparagraph (2)(c), the Investor shall further provide its consent in writing for the dispute to be submitted to …
[arbitration pursuant to the SCC Rules].”



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                 ECT. 6


                                               The Arbitration

                 21.      Petitioners commenced the arbitration at issue herein by serving a Request

for Arbitration on the ROK on July 26, 2010. The Request for Arbitration invoked Article

26(4)(c) of the ECT. That Article permits the submission of disputes under the ECT to

arbitration “under the Arbitration Institute of the Stockholm Chamber of Commerce.”

                 22.      The arbitration was seated in Stockholm, Sweden, and proceeded in

accordance with the SCC Rules, as provided by the ECT. The selection of the arbitral tribunal

was completed on September 28, 2010, and consisted of Professor Karl-Heinz Bockstiegel

(Chairman), David R. Haigh, QC (appointed by Petitioners), and Professor Sergei Lebedev

(appointed by the Arbitration Institute of the Stockholm Chamber of Commerce).

                 23.      The ROK was competently represented by counsel in the arbitration, first

by attorneys from Curtis, Mallet-Prevost, Colt & Mosle LLP, and then by attorneys from Norton

Rose Fulbright LLP and Winston & Strawn. The ROK participated in all aspects of the

arbitration: it submitted a statement of defense, a rejoinder on jurisdiction and liability, a

rejoinder memorial on quantum, and two post-hearing briefs, and it presented numerous

witnesses and experts who gave testimony and submitted witness statements.

                 24.      The tribunal conducted the hearing on jurisdiction and liability at the ICC

Hearing Centre in Paris, France from October 1-8, 2012, during which the tribunal heard

testimony from both Petitioners’ and Respondent’s witnesses.

                 25.      The tribunal conducted the hearing on quantum at the ICC Hearing Centre

6 See Request for Arbitration, Sun Decl. Ex. C, at ¶ 94 (“Claimants hereby consent to arbitration under the ECT and
elect to submit this dispute to the Arbitration Institute of the Stockholm Chamber of Commerce in accordance with
Article 26(4)(c) of the ECT.”).



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in Paris, France from January 28-31, 2013, during which the tribunal heard testimony from both

Petitioners’ and Respondent’s witnesses.

               26.    The tribunal conducted a final hearing at the ICC Hearing Centre in Paris,

France on May 2-3, 2013, during which the tribunal heard expert testimony from both parties’

experts and closing arguments.

               27.    The tribunal issued the Award on December 19, 2013. The Award found

that the ROK had violated its obligations under the ECT with respect to Petitioners’ investments,

found the ROK liable to Petitioners in the amount of US$ 497,685,101.00, plus pre-award

interest at the 6-month U.S. Treasury Bill rate from April 30, 2009 until the date of payment

compounded semi-annually, and further awarded 50% of Petitioners’ fees in the arbitration in the

amount of US$ 8,975,496.40. In total, the Award requires the ROK to pay to Petitioners

approximately US$ 506,660,597.40 plus compound interest as set forth in the Award. The

Petition seeks confirmation of the Award by this Court. A true and correct copy of the Award is

attached as Exhibit A to the Sun Declaration.

                                    Summary of the Dispute

               28.    Petitioners began investigating investment opportunities in Kazakhstan in

1999. Petitioners’ investments in Kazakhstan’s natural hydrocarbon resources sector began with

their purchase of controlling shares of two Kazakh companies, Kazpolmunay LLP (“KPM”) and

Tolkynneftagaz LLP (“TNG”).

               29.    On December 9, 1999, Petitioner Ascom purchased a 62% share in KPM,

a closed joint stock company, which owned the subsoil use rights to the Borankol oil field

pursuant to Contract 305 on Exploration and Extraction of Hydrocarbons at the “Borankol”

deposit (Mangystau Oblast), executed between the Agency of the Republic of Kazakhstan on



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Investments and KPM, and dated 30 March 1999.

               30.     On May 17, 2000, Petitioners acquired a 75% interest in TNG, a Kazakh

company that owned the subsoil use rights to the Tolkyn gas field and the Tabyl exploration

block (“Tabyl Block”) pursuant to Contracts 210 and 302 on Exploration and Extraction of

Hydrocarbons at the “Tolkyn” deposit and the Tabyl Block (Mangystau Oblast), executed

between the Agency of the Republic of Kazakhstan on Investments and TNG, and dated 12

August and 31 July 1998, respectively.

               31.     Through a series of subsequent transactions, Ascom came to own 100% of

KPM, and Terra Raf came to own 100% of TNG. As of July 2000, Petitioners, through their

ownership of KPM and TNG, were the operators for both the Borankol and Tolkyn fields, as

well as the Tabyl Block.

               32.     Beginning around 2001, KPM and TNG invested substantial sums of

money developing the Borankola and Tolkyn fields, and exploring the Tabyl Block. They

conducted seismic evaluations, drilled and recompleted numerous wells, and built significant

infrastructure for processing, storing, and transporting hydrocarbons. In addition, TNG

commenced construction of a state-of-the-art liquefied petroleum gas (“LPG”) plant to extract

valuable liquid hydrocarbons from natural gas. In total, Petitioners invested (or reinvested) more

than $1 billion in developing these previously-idle oil and gas fields, which employed numerous

local citizens, supplied revenue to the Kazakh treasury, and greatly contributed to the overall

development of the region.

               33.     Beginning in October of 2008, just as those investments had begun to

mature and generate significant returns, the ROK began a campaign of intimidation and

harassment apparently intended to pressure Petitioners into selling their investments to the state-



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owned oil company KazMunaiGas at a substantially depreciated price. Among its numerous

harassing actions, the ROK:

           •   Baselessly and publicly accused Petitioners of committing fraud and

               forgery in their acquisition of TNG, which impaired their credit rating and

               clouded their title to TNG;

           •   Levied more than $70 million in baseless back taxes against both

               companies;

           •   Arrested and prosecuted KMG’s general manager for the purported crime

               of “illegal entrepreneurial activity,” based on KMG’s alleged failure to

               have the correct license to operate a gathering pipeline (which it had

               operated for years with no objection), ultimately sentencing him to four

               years in prison and imposing a fine of US$ 145 million on KPM (even

               though it had not been charged with any crime); and

           •   Ultimately, seized all of the assets KPM and TNG outright, under the

               pretext of several baseless and minor alleged breaches of the Subsoil Use

               contracts.

               34.    Based on these actions, the Request for Arbitration alleged several claims

under the ECT, including a denial of fair and equitable treatment of Claimants’ investments in

Kazakhstan. The tribunal issued the Award on December 19, 2013.

               35.    On jurisdiction, the tribunal found that (i) it had jurisdiction over the

Petitioners’ claims because the parties had consented in the ECT to arbitration before the SCC,

(ii) the Petitioners were investors who had made investments within the meaning of the ECT, and

(iii) all other conditions to jurisdiction were met. Award, Sun Decl. Ex. A, ¶¶ 709, 747, 813,



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830, and 841.

                36.      On liability, the tribunal found, among other things, that the ROK’s

actions, taken together, “constituted a string of measures of coordinated harassment by various

institutions of Respondent” that “must be considered as a breach of the obligation to treat

investors fairly and equitably, as required by Art. 10(1) ECT.” Id. at ¶ 1095.

                37.      Article 40 of the SCC Rules expressly provides that “[a]n award shall be

final and binding on the parties when rendered. By agreeing to arbitration under these Rules, the

parties undertake to carry out any award without delay.”

                38.      Moreover, Article 26(8) of the ECT expressly provides that:

                The awards of arbitration, which may include an award of interest,
                shall be final and binding upon the parties to the dispute. An award
                of arbitration concerning a measure of a sub-national government
                or authority of the disputing Contracting Party shall provide that
                the Contracting Party may pay monetary damages in lieu of any
                other remedy granted. Each Contracting Party shall carry out
                without delay any such award and shall make provision for the
                effective enforcement in its Area of such awards.


                39.      Despite these requirements, and Petitioners’ demand that the ROK satisfy

the Award, the ROK has not made any payment to Petitioners under the Award.

                                           Cause of Action

                40.      Petitioners repeat and reallege the allegations in paragraphs 1 through 39

as if set forth fully herein.

                41.      The arbitration agreement set forth herein at paragraphs 10 through 20

constitutes “an agreement in writing” within the meaning of Article II(2) of the New York

Convention. See ECT, Article 26(5)(a)(ii) (“The consent given in paragraph (3) together with

the written consent of the Investor given pursuant to paragraph (4) shall be considered to satisfy

the requirement for ... an ‘agreement in writing’ for purposes of article II of the United Nations

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Convention on the Recognition and Enforcement of Foreign Arbitral Awards, done at New York,

10 June 1958 (hereinafter referred to as the ‘New York Convention’).”).

                 42.    The Award arose out of a legal relationship that is commercial within the

meaning of 9 U.S.C. § 202.

                 43.    The Award was made in Sweden, a nation that is a signatory to the New

York Convention, and which is a State other than the State where recognition and enforcement is

sought hereby.

                 44.    The Republic of Kazakhstan, Moldova, and the United States also are each

signatories to the New York Convention.

                 45.    The Award is final and binding within the meaning of the New York

Convention and Chapter 2 of the FAA.

                 46.    Upon information and belief, the ROK and its instrumentalities and agents

maintain assets in the United States, and those assets are and have been used for commercial

purposes in the United States and may be executed upon in satisfaction of any judgment entered

in Petitioners’ favor herein.

                 47.    None of the grounds for refusal or deferral of the Award set forth in the

New York Convention applies.

                 48.    The Award is required to be confirmed pursuant to the New York

Convention and 9 U.S.C. § 207.



       WHEREFORE, Petitioners pray:

       (a)       That the Court enter an order pursuant to 9 U.S.C. § 207 confirming the Award

against the ROK; and



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       (b)     That, on the basis of the confirmed Award, the Court enter judgment that the

ROK is liable to Petitioners jointly in the amount of US$ 506,660,597.40 plus (a) compound pre-

judgment interest as set forth in the Award from April 9, 2009 to the date that judgment is

entered herein, and (b) post-judgment interest from the date that judgment is entered to the date

of satisfaction; and

       (d)     That Petitioners be awarded such other and further relief as may be proper.


Dated: New York, New York
       September 30, 2014


                                             /s/ James E. Berger                    .
                                             James E. Berger (D.C. Bar 481408)
                                             Charlene C. Sun (pro hac vice pending)

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